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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
                            Case No. 6:22-cv-00834-RBD-LHP

   EMMA PAZ, and               other   similarly
                                       )
   situated individuals,               )
                                       )
                Plaintiff(s),          )
                                       )
   v.                                  )
                                       )
   SALSAS OF TITUSVILLE                )
   CORPORATION d/b/a SALSAS COCINA TI- )
   TUSVILLE a/k/a Salsas Mexican       )
   Restaurant and JESUS VALENCIA,      )
                                       )
                Defendants.            )
                                       )


                        RESPONSE TO ORDER TO SHOW CAUSE

          Defendants SALSAS OF TITUSVILLE CORPORATION d/b/a SALSAS

   COCINA TITUSVILLE a/k/a Salsas Mexican Restaurant (“Salsas”) and JESUS

   VALENCIA by and through Undersigned counsel hereby file this Response to an

   Order to Show Cause (Dkt. 114) and without violating the attorney client privilege

   states as follows:

                  In the weeks leading up to the hearing on January 17, 2024, under-

          signed emailed, texted and spoke with Blanca Valencia, an owner of defend-

          ant restaurant about retaining additional counsel because undersigned would

          be a witness regarding the alleged settlement in February of 2023. Under-

          signed is not certain Ms. Valencia completely understood the need for new

          counsel, but given the numerous communications on the issue, undersigned
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         believed he could not explain in any other way. This was likewise true of the

         need for an interpreter.

                During and following the hearing, undersigned began to understand

         that Ms. Valencia possibly did not specifically recall what had taken place

         eleven months early and may have thought that the hearing was an oppor-

         tunity to try to settle the case. Since September, undersigned and Ms. Valen-

         cia have had numerous discussions on this issue and undersigned has been

         under the impression the owners considered the case NOT to have settled in

         February. However if at the hearing, the Valencias were ready to move be-

         yond the date of settlement (i.e. conceding that settlement took place in Feb-

         ruary), there would have been no need for their testimony. During the hear-

         ing,    undersigned and Ms. Valencia did have an attorney-client discussion

         on this issue. In addition, undersigned understands Mr. Valencia speaks only

         limited English but would be able with assistance of Ms. Valencia to under-

         stand and execute settlement terms.

                This case has been made more complicated because all of undersigned

         communications with Ms. Valencia are then translated to Mr. Valencia and

         the third owner, Cresencio Prado. As an example, undersigned informed Ms.

         Valencia that all three owners be present at the January 17, 2024 hearing and

         Ms. Valencia confirmed that all three owners would be present, yet Ms. Prado

         was not present.
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                Although undersigned has tried throughout to confirm that all owners

         understand the issues, undersigned is not confident those communications be-

         tween and among the owners is always clear and accurate. For those

         reasons, in November after undersigned took back over the day to day

         representation in the case, but was not able to get the case “across the finish

         line”, undersigned began to recognize that communication between the

         owners and undersigned was not always effective. Therefore in

         November and again in December undersigned explained to Defendants that

         he intended to withdraw and since that time has made recommendations of

         alternate counsel to owners. Undersigned has requested the status of hiring

         counsel from the owners, but has received no response.

                Following the hearing on January 17, 2024, the owners informed

         undersigned that they would be hiring new counsel and undersigned plans to

         file a motion to withdraw.

                Regarding Mr. and Ms. Valencia’s departure from the hearing on

         January 17, 2024, undersigned (and the Valencia’s) were under the

         impression that when judge Price offered her courtroom to the Parties to

         allow the Parties to discuss settlement if they were interested in doing so.

         Otherwise, the Parties free to leave. Defendants were very interested in

         staying and working on settlement and only left when all negotiations had

         been exhausted and were then leaving for an appointment. Although those

         settlement negotiations were ultimately not successful, significant progress
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         was made. More specifically Defendants raised their offer twice and in-

         creased their offer nearly 25%. Unfortunately, undersigned regrets that nei-

         ther attorney Jason Harr nor undersigned were able to get a signed settlement

         agreement in place.

                Regarding Defendants’ absence from the hearing in December 2023,

         undersigned only is aware that Mr. Valencia was undergoing medical

         treatment. Undersigned has not pursued details of the medical issue and no

         explanation has been offered by Mr. Valencia.

                Defendants suggest that they attended the January 2024 hearing in

         good faith and looked forward to settling the case. Although undersigned

         repeated explained all substantive issues in the case to the owners, under-

         signed regrets that those communication may have not been completely

         understood by all owners. Any errors by Defendants were wholly

         unintentional and neither Defendants nor undersigned should be penalized

         given that the errors were inadvertent and certainly not made to prejudice the

         Plaintiff nor consume the court’s time and resources.

                WHEREFORE for the reasons above, Defendants and undersigned

         respectfully request that the Court not sanction either Defendants or

         undersigned.
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   Respectfully submitted,
    /s/ Robert Blanchfield
    Robert Blanchfield, Esq.
    Florida Bar No.: 0361800
    E-Mail:Robert@BlanchfieldLawFirm.com
    BLANCHFIELD LAW OFFICES
    3224 S U.S. Hwy 1
    Fort Pierce, FL 33982
    Telephone: (407) 497-0463
    Counsel for Defendants




                             CERTIFICATE OF SERVICE

         I hereby certify that on January 30, 2024, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF which will
   manner serve all counsel of record electronically via CM/ECF.


                                                 By: /s/ Robert Blanchfield
